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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

               Plaintiff,

v.                                                  Civil Action No. 2:93cv902

The Wrecked and Abandoned
Vessel, . . .believed to be
the RMS TITANIC, in rem,

               Defendant.

             NOTICE OF INTENT TO SUBMIT SUPPLEMENTAL FILINGS

       NOW COMES Plaintiff RMS Titanic, Inc. (“RMST”), by counsel, and provides notice of

its intent to file a supplemental Periodic Report, updating the Court on developments with RMST’s

Motion to Approve Asset Purchase Agreement (“the Sale Motion”), Dkt. No. 447, and its positions

on the Supplemental Report and proposed Order on the Sale Motion submitted by the United States

and NOAA on Tuesday, November 6, 2018. Dkt. No. 517, 517-1. RMST took to heart the Court’s

concerns raised at October 25, 2018 hearing.

       Following the hearing, RMST and Premier Acquisition Holdings, LLC (“PAHL”) have

worked diligently to address not only the issues raised by the Court, but also the recommendations

outlined by NOAA in its Report and Recommendation filed on October 24, 2018. Dkt. No. 502.

Those efforts are reflected in the Periodic Report filed by RMST on November 2, 2018, Dkt. No.

514, wherein it endeavored to respond to the Court’s questions and attached a proposed order that

sought to address the Court’s concerns and the recommendation of NOAA. Additionally, at the



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Court’s invitation, PAHL moved to intervene in this case, and the motion was granted by the Court

pursuant to an order entered on November 5, 2018. Dkt. No. 515.

       As time is of the essence, RMST has continued to engage NOAA in an attempt to submit

an agreed order for this Court’s consideration. During those discussions, RMST learned that

NOAA intended to make additional requests beyond those contained in its initial Report and

Recommendation.       Unfortunately, NOAA submitted its proposed order containing these

additional requests before RMST or PAHL had an opportunity to provide any comments or engage

in further discussions on it with NOAA. Dkt. Nos. 517, 517-1. The revised proposed order

submitted by NOAA presents significant challenges. In short, the proposed order goes far beyond

NOAA’s initial report and recommendation, blurs the lines of well-established corporate law,

mandates time lines that RMST and PAHL cannot currently meet, and ignores binding 4th Circuit

authority.

       In light of the foregoing, RMST intends to submit a formal response to NOAA’s

Supplemental Report revised Order. RMST and PAHL will also continue to work diligently with

NOAA in an effort to reach consensus on an order that addresses this Court’s concerns, complies

with the Revised Covenants and Conditions, and gives PAHL the opportunity to close on this

important transaction and the time necessary to properly address NOAA’s supplemental concerns

post-closing. As this Court is well aware of the critical need to conclude the Sale transaction as

soon as possible, RMST will submit its supplemental pleadings in the immediate future.

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                                         Respectfully submitted,

                                         R.M.S. TITANIC, INC.

                                         By Counsel

                                                /s/
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                                       CERTIFICATION

       I hereby certify that the foregoing has been electronically filed through the Court’s ECF
system this 7th day of November, 2018.




       /s/
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